Case 12-06435-dd         Doc 184      Filed 11/25/14 Entered 11/25/14 14:57:27                 Desc Main
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                                  UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF SOUTH CAROLINA

In Re:
                                                          Case # 12-06435-DD
LEGACY DEVELOPMENT SC GROUP, LLC
                                                          Chapter 7
                        Debtor.

   NOTICE OF TRUSTEE’S MOTION TO ALLOW CLAIMS AND MAKE AN INTERIM DISTRIBUTION AND
                        APPLICATION FOR INTERIM COMPENSATION
                                AND DEADLINE TO OBJECT

        Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that Michelle L. Vieira,
trustee of the above styled estate, has filed a Motion to Allow Claims and Make an Interim Distribution
(“Motion”) and the Trustee has filed interim fee applications, which is summarized in the Motion.

        The Motion and all applications for compensation are available for inspection at the Office of
the Clerk, at the following address:

                        CLERK, U.S. BANKRUPTCY COURT
                        J. BRATTON DAVIS U.S. BANKRUPTCY
                        COURTHOUSE
                        1100 LAUREL STREET
                        COLUMBIA, SC 29201

Any person wishing to object to any fee application that has not already been approved or to the
Motion, must file a written objection within 21 days from the mailing of this notice, service a copy of the
objections upon the trustee, any part whose application is being challenged and the United States
Trustee. A hearing on the fee applications and any objection to the Motion will be held at 9:00 a.m. on
January 27, 2015, in Courtroom 225:

                        United States Courthouse
                        145 King Street
                        Charleston, South Carolina 29401
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If no objections are filed, upon entry of an order on the fee applications, the Trustee may pay dividends
pursuant to FRBP 3009 without further order of the Court.

        Dated this 24 day of October, 2014 at Myrtle Beach, SC.

                                                      /s/ Michelle L. Vieira, Trustee
                                                      Michelle L. Vieira, Trustee
                                                      District Court ID #9876
                                                      P O Box 70309
                                                      Myrtle Beach, SC 29572
                                                      Phone (843) 497-9800, Fax (877) 684-1614
                                                      Email: michellelvieira@msn.com
Case 12-06435-dd          Doc 184      Filed 11/25/14 Entered 11/25/14 14:57:27                  Desc Main
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                                   UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF SOUTH CAROLINA

In Re:
                                                           Case # 12-06435-DD
LEGACY DEVELOPMENT SC GROUP, LLC
                                                           Chapter 7
                         Debtor.

                  MOTION TO ALLOW CLAIMS AND MAKE AN INTERIM DISTRIBUTION

         COMES NOW the Trustee, Michelle L. Vieira, and applies to the Court for an Order Allowing
Claims and Authorizing an Interim Distribution. In support thereof, the Trustee alleges and states as
follows:

        1. The Trustee has on hand the sum of $916,761.29. The case has not been closed because the
trustee is still administering assets, which may yield additional funds to distribute to creditors. The
Trustee is still pursuing additional adversary proceedings that could delay the closing of the case. It is in
the best interest of the creditors to make an interim distribution to reduce the bank fees paid on the
funds pending final distribution.

        2. The Trustee is requesting the Court enter an Order allowing the following claims and allowing
her to make an interim distribution of $750,000.00 as set forth below:


Secured Claims                                                   Allowed Claim          Requested Payment
HERITAGE FUNDING, LLC                                                $48,222.64                 $48,222.64

Administrative Claims (Chapter 7)                                Allowed Claim          Requested Payment
Michelle L. Vieira, Trustee Compensation                             $72,397.16                 $72,397.16
Michelle L. Vieira, Trustee Expenses                                  $1,440.43                  $1,440.43



Unsecured Claims                                                 Allowed Claim          Requested Payment

HORRY COUNTY STATE BANK                                           $1,090,804.42                 $190,130.54
HERITAGE FUNDING, LLC                                              $731,916.51                  $127,575.28
HORRY COUNTY TREASURER                                             $143,422.45                   $24,998.97
RED EAGLE INVESTMENTS LLC                                            $88,621.00                  $15,446.91
LUM & ELIZABETH HUGH                                               $117,583.16                   $20,495.10
PAT O'DONNELL                                                        $92,748.02                  $16,166.26
Mary Elizabeth Toler                                                 $16,686.63                   $2,908.53
William Lee Toler                                                  $817,644.71                  $142,517.97
JOSEPH GOLDIAN                                                       $87,056.48                  $15,174.21
RON JONES VIA EQUITY TRUST IRA #20857                              $326,279.33                   $56,871.48
Merito Investments LLC                                               $89,812.00                  $15,654.52
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                                                 Total Secured Claims:                   $48,222.64
                               Total Administrative Claims (Chapter 7):                  $73,837.59
                                              Total Unsecured Claims:                   $627,939.77

                                                       Total Dividend:                  $750,000.00

WHEREFORE, Trustee prays this Court issue an Order Allowing Claims and Authorizing Interim
Distribution.

                                                    /s/ Michelle L. Vieira, Trustee
                                                    Michelle L. Vieira, Trustee
                                                    District Court ID #9876
                                                    P O Box 70309
                                                    Myrtle Beach, SC 29572
                                                    Phone (843) 497-9800, Fax (877) 684-1614
                                                    Email: michellelvieira@msn.com
                                                                                                                                                                                                            Page:          1
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                                                                                                   Page
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
Case No:                12-06435                           DD          Judge:       David R. Duncan                              Trustee Name:                         Michelle L. Vieira
Case Name:              LEGACY DEVELOPMENT SC GROUP, LLC                                                                         Date Filed (f) or Converted (c):      10/16/2012 (f)
                                                                                                                                 341(a) Meeting Date:                  01/03/2013
For Period Ending:      11/20/2014                                                                                               Claims Bar Date:                      04/09/2013


                                     1                                              2                           3                              4                             5                             6

                            Asset Description                                    Petition/                Est Net Value                Property Formally               Sale/Funds                      Asset Fully
                (Scheduled and Unscheduled (u) Property)                        Unscheduled           (Value Determined by                Abandoned                    Received by                 Administered (FA)/
                                                                                  Values               Trustee, Less Liens,               OA=554(a)                     the Estate              Gross Value of Remaining
                                                                                                           Exemptions,                                                                                   Assets
                                                                                                        and Other Costs)

  1. Lot 1 Villa D'Este, North Myrtle Beach SC                                            Unknown                         0.00                                                      44,000.00                         FA
  2. Lot 2 Villa D'Este, North Myrtle Beach, SC                                           Unknown                         0.00                                                      44,000.00                         FA
  3. Lot 25 Villa D'Este, North Myrtle Beach, SC                                          Unknown                         0.00                                                      44,000.00                         FA
  4. Lots 26, 42, 74, 83, 88, 92, 94 and 98 Villa D'E                                     Unknown                         0.00                                                   352,000.00                           FA
  5. Lot 38 Villa D'Este, North Myrtle Beach, SC                                          Unknown                         0.00                                                      44,000.00                         FA
  6. Lot 39 Villa D'Este, North Myrtle Beach, SC                                          Unknown                         0.00                                                      44,000.00                         FA
  7. Lot 58 Villa D'Este, North Myrtle Beach, SC                                          Unknown                         0.00                                                      44,000.00                         FA
  8. Lot 59 Villa D'Este, North Myrtle Beach, SC                                          Unknown                         0.00                                                      44,000.00                         FA
  9. Lot 61 Villa D'Este, North Myrtle Beach, SC                                          Unknown                         0.00                                                      44,000.00                         FA
 10. Lot 84 Villa D'Este, North Myrtle Beach, SC                                          Unknown                         0.00                                                      44,000.00                         FA
 11. Lot 105 Villa D'Este, North Myrtle Beach, SC                                         Unknown                         0.00                                                      44,000.00                         FA
 12. Lot 106 Villa D'Este, North Myrtle Beach, SC                                         Unknown                         0.00                                                      44,000.00                         FA
 13. Open Space #1, 2, 3, 4, and 5 Villa D'Este, Nort                                     Unknown                         0.00                                                      20,000.00                         FA
 14. Money Owed by Ryan Cunningham - amount owed is $                                     Unknown                         0.00                                                   900,000.00                           FA
 15. Money owed by Kenneth Gwynn - owes $3,037,479                                        Unknown                         0.00                                                           0.00                         FA
 16. Lot 71, Villa D'este, North Myrtle Beach       (u)                                       0.00                        0.00                                                      44,000.00                         FA
 17. DECLARANT RIGHTS                              (u)                                        0.00                        0.00                                                       5,000.00                         FA
 18. ADV. PROCEEDING 14-80003 VS. HERITAGE FUNDING               (u)                          0.00                        0.00                                                           0.00                         FA
 19. ADV. PROCEEDING 14-80013 VS. SCBT                     (u)                                0.00                        0.00                                                           0.00                   75,000.00
 20. Adversary 14-80082 Vieira v. Vice (u)                                                    0.00                   75,000.00                                                           0.00                   75,000.00
 21. Adv. 14-80083 Vieira v. LEJ, LLC (u)                                                     0.00                  120,000.00                                                           0.00                  120,000.00
INT. Post-Petition Interest Deposits (u)                                                  Unknown                         N/A                                                            0.00                   Unknown


                                                                                                                                                                                         Gross Value of Remaining Assets
                                                                                                                                                                                                                Page:        2
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TOTALS (Excluding Unknown Values)                                                                 $0.00
                                                                                            Document      Page $195,000.00
                                                                                                                6 of 19                                                             $1,805,000.00                 $270,000.00
                                                                                                                                                                                             (Total Dollar Amount in Column 6)


Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

3-2014 The trustee is actively pursuing the collection of the Judgment against Ryan Cunningham in West Virginia. Additionally, The trustee is pursuing claims against Legrand, and SCB&T

1-15-14 Creel $1,195.00. Admin expense order entered. Pay when money comes in from sale

8-6-13 email-update Shep Guyton email address: rsguyton@guytonlawfirm.com

2004 Exam of Guyton on August 8 @ 11AM

4-20-13 Pursuing collection of Judgment against Ryan Cunningham. Judgment to enter in Federal Court within the next 30 days in excess of 1 Million Dollars.

Trustee and B.Barton have meeting with potential purchaser on Friday May 3, 2013 to discuss purchase of all remaining land in North Myrtle Beach. This land is very messy with title curently.
Trustee and counsel attempting to determine what liens are valid in an attempt to determine values for lots.

Ryan Cunningham West Virginia lawsuit - see 1-5-13 email from Kevin Barrett

LeGrand doesn't know if loss carryback returns were every filed. Find out from Gleissner who his accountant was. Get phone number & contact info.

Amend schedules-NBSC claim no longer disputed.

They need to send us:
----Appraisals of properties
----Copies of documents where various notes were purchased
                                                                                                                                                 Page:   3
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RE PROP #               1     --   Imported from original petition Doc# 12              Document      Page 7 of 19
                                   Trustee has meeting on May 3, 2013 with potentail purchaser regarding sale of all land
                                   in N. Myrtle Beach. This note applies to assets 1 to 13
RE PROP #               2     --   Imported from original petition Doc# 12
RE PROP #               3     --   Imported from original petition Doc# 12
RE PROP #               4     --   Imported from original petition Doc# 12
RE PROP #               5     --   Imported from original petition Doc# 12
RE PROP #               6     --   Imported from original petition Doc# 12
RE PROP #               7     --   Imported from original petition Doc# 12
RE PROP #               8     --   Imported from original petition Doc# 12
RE PROP #               9     --   Imported from original petition Doc# 12
RE PROP #              10     --   Imported from original petition Doc# 12
RE PROP #              11     --   Imported from original petition Doc# 12
RE PROP #              12     --   Imported from original petition Doc# 12
RE PROP #              13     --   Imported from original petition Doc# 12
RE PROP #              14     --   Imported from original petition Doc# 12
                                   Pursuing collection of this debt in WV
RE PROP #              15     --   Imported from original petition Doc# 12
                                   Gwynn has filed BK and this appears to be uncollectible
RE PROP #              18     --   and Ronald LeGrand
                                   Ongoing litigation. Value is an estimate, as there is no way to know what a jury will
                                   award.

                                   **Litigation settled. No funds to estate. However, claim was greatly reduced allowing
                                   funds to be paid to other creditors. No funds paid on this claim will be payable to Ron
                                   Legand or his daughter.

RE PROP #              19     --   Litigation was settled after Motions for Summary Judgment were taken under
                                   advisement. Bank will pay $75,000 to the estate as full settlement.
RE PROP #              20     --   Litigation to collect on a note owed to Debtor
RE PROP #              21     --   Note owed to Debtor prepetition

Initial Projected Date of Final Report (TFR): 06/01/2014                  Current Projected Date of Final Report (TFR): 12/31/2014

Trustee Signature:          /s/ Michelle L. Vieira     Date: 11/20/2014
                            Michelle L. Vieira
                            P O Box 70309
                            Myrtle Beach, SC 29572
                            (843) 497-9800
                            michellelvieira@msn.com
                                                                                                                                                                                                Page:           1
                                  Case 12-06435-dd                  Doc 184   Filed 11/25/14
                                                                                       FORM 2
                                                                                               Entered 11/25/14 14:57:27                                   Desc Main
                                                                             Document      Page  8 of 19 RECORD
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-06435                                                                                             Trustee Name: Michelle L. Vieira
      Case Name: LEGACY DEVELOPMENT SC GROUP, LLC                                                                          Bank Name: Bank of Kansas City
                                                                                                               Account Number/CD#: XXXXXX0164
                                                                                                                                          Checking
  Taxpayer ID No: XX-XXX3727                                                                           Blanket Bond (per case limit): $2,000,000.00
For Period Ending: 11/20/2014                                                                          Separate Bond (if applicable):


       1                2                             3                                           4                                                       5                  6                     7

Transaction Date    Check or             Paid To / Received From                      Description of Transaction                  Uniform Tran.      Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                         ($)
   09/10/14                     Transfer from Acct # xxxxxx66            Transfer of Funds                                         9999-000             $248,094.16                              $248,094.16

   09/10/14            14       Barton Law Office                        Settlement Proceeds from                                  1129-000             $900,000.00                            $1,148,094.16
                                                                         Ryan Cunningham Settlement
   09/30/14                     Bank of Kansas City                      Bank Service Fee under 11                                 2600-000                                   $1,155.95        $1,146,938.21
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   10/15/14           1001      BAILEY & GLASSER, LLP                    Final Payment for Special                                                                          $188,227.31          $958,710.90
                                209 CAPITOL STREET                       Counsel
                                CHARLESTON, WV 25301
                                BAILEY & GLASSER LLP                                                           ($180,000.00)       3210-000

                                BAILEY & GLASSER LLP                                                                ($8,227.31)    3220-000

   10/15/14           1002      Equity Trust Company, Custodian FBO      Payment as per Consent Order                              4110-000                                      $240.00         $958,470.90
                                Mary Elizabeth Toler IRA                 #114 Entered 1/10/14

   10/15/14           1003      Equity Trust Company, Custodian FBO      Payment as per Consent Order                              4110-000                                  $11,760.00          $946,710.90
                                William Lee Toler IRA                    #114 Entered 1/10/14

   10/16/14           1004      FAULKNER AND THOMPSON P. A.              Payment as per Order Allowing                                                                       $29,949.61          $916,761.29
                                PO Box 2456                              Interim Compensation dated 10
                                Rock Hill, SC 29732-4456                 -16-14, Docket #171
                                FAULKNER AND THOMPSON P. A.              Payment as per Order Allowing             ($29,613.00)    3410-000
                                                                         Interim Compensation dated 10
                                                                         -16-14, Docket #171
                                FAULKNER AND THOMPSON, P.A.              Payment as per Order Allowing               ($336.61)     3420-000
                                                                         Interim Compansation dated 10
                                                                         -16-14, Docket #171
   10/31/14                     Bank of Kansas City                      Bank Service Fee under 11                                 2600-000                                   $1,579.45          $915,181.84
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   11/06/14                     South State Bank                         Settlement of Adv. Litigation                             1249-000              $75,000.00                              $990,181.84
                                                                         Settlement with South State
                                                                         Bank per Court Order entered
                                                                         10/22/14 in AP #14-80013.
                                                                         Docket #27.



                                                                                Page Subtotals:                                                       $1,223,094.16         $232,912.32
                                                                                                              Page:   2
Case 12-06435-dd   Doc 184    Filed 11/25/14 COLUMN
                                              Entered  11/25/14 14:57:27$1,223,094.16
                                                    TOTALS
                                                                            Desc Main           $232,912.32
                             Document      Page 9 of 19
                                                      Less: Bank Transfers/CD's   $248,094.16         $0.00
                                                Subtotal                          $975,000.00   $232,912.32
                                                      Less: Payments to Debtors         $0.00         $0.00
                                                Net                               $975,000.00   $232,912.32




                              Page Subtotals:                                           $0.00         $0.00
                                                                                                                                                                                              Page:           3
                                    Case 12-06435-dd               Doc 184   Filed 11/25/14
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                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-06435                                                                                           Trustee Name: Michelle L. Vieira
      Case Name: LEGACY DEVELOPMENT SC GROUP, LLC                                                                         Bank Name: Rabobank, N.A.
                                                                                                               Account Number/CD#: XXXXXX66
                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXX3727                                                                            Blanket Bond (per case limit): $2,000,000.00
For Period Ending: 11/20/2014                                                                           Separate Bond (if applicable):


       1                2                         3                                              4                                                      5                  6                     7

Transaction Date    Check or            Paid To / Received From                      Description of Transaction                 Uniform Tran.      Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                         ($)
   02/04/14                     BARTON LAW FIRM                                                                                                       $896,487.92                              $896,487.92
                                1715 PICKENS STREET
                                COLUMBIA, SC 29201
                                                                        Gross Receipts                            $905,000.00

                                                                        Deed stamps, title prep, etc.             ($3,598.50)    2500-000

                                ,
                                                                        Horry County tax 1/1/14-                  ($4,913.58)    2820-000
                                                                        1/30/14
                                ,
                        2                                               Lot 2 Villa D'Este, North Myrtle           $44,000.00    1110-000
                                                                        Beach, SC
                        3                                               Lot 25 Villa D'Este, North                 $44,000.00    1110-000
                                                                        Myrtle Beach, SC
                        5                                               Lot 38 Villa D'Este, North                 $44,000.00    1110-000
                                                                        Myrtle Beach, SC
                        6                                               Lot 39 Villa D'Este, North                 $44,000.00    1110-000
                                                                        Myrtle Beach, SC
                        7                                               Lot 58 Villa D'Este, North                 $44,000.00    1110-000
                                                                        Myrtle Beach, SC
                        8                                               Lot 59 Villa D'Este, North                 $44,000.00    1110-000
                                                                        Myrtle Beach, SC
                        9                                               Lot 61 Villa D'Este, North                 $44,000.00    1110-000
                                                                        Myrtle Beach, SC
                       10                                               Lot 84 Villa D'Este, North                 $44,000.00    1110-000
                                                                        Myrtle Beach, SC
                       11                                               Lot 105 Villa D'Este, North                $44,000.00    1110-000
                                                                        Myrtle Beach, SC
                       12                                               Lot 106 Villa D'Este, North                $44,000.00    1110-000
                                                                        Myrtle Beach, SC
                       13                                               Open Space #1, 2, 3, 4, and 5              $20,000.00    1110-000
                                                                        Villa D'Este, Nort
                        1                                               Lot 1 Villa D'Este, North Myrtle           $44,000.00    1110-000
                                                                        Beach SC



                                                                               Page Subtotals:                                                        $896,487.92                $0.00
                                                                                                                                                                                               Page:           4
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                                                                 ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-06435                                                                                          Trustee Name: Michelle L. Vieira
      Case Name: LEGACY DEVELOPMENT SC GROUP, LLC                                                                        Bank Name: Rabobank, N.A.
                                                                                                             Account Number/CD#: XXXXXX66
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX3727                                                                         Blanket Bond (per case limit): $2,000,000.00
For Period Ending: 11/20/2014                                                                        Separate Bond (if applicable):


       1                2                        3                                              4                                                     5                   6                       7

Transaction Date    Check or           Paid To / Received From                      Description of Transaction                 Uniform Tran.     Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                      Code                                                           ($)
                        4                                              Lots 26, 42, 74, 83, 88, 92, 94           $352,000.00    1110-000
                                                                       and 98 Villa D'E
                       16                                              Lot 71, Villa D'este, North                $44,000.00    1110-000
                                                                       Myrtle Beach
                       17                                              DECLARANT RIGHTS                            $5,000.00    1290-000

   02/05/14            107      EQUITY TRUST CO, CUSTODIAN FBO         Authorized per Order at Docket                           4110-000                                 ($11,760.00)           $908,247.92
                                WILLIAM LEE TOLER IRA                  #114
                                2711 B WATSON BLVD.
                                WARNER ROBINS, GA 31093
   02/05/14            108      EQUITY TRUST CO, CUSTODIAN FBO         Authorized per Order at Docket                           4110-000                                      ($240.00)         $908,487.92
                                MARY ELIZABETH TOLER IRA               #114
                                2711 B WATSON BLVD.                    Replicated from check #107
                                WARNER ROBINS, GA 31093
   02/05/14            101      RED EAGLE INVESTMENTS, LLC             Authorized per Order at Docket                           4110-000                                  $12,000.00            $896,487.92
                                C/O JANET DUNLOP                       #109
                                3213 W WHEELER STREET #265
                                SEATTLE, WA 98199
   02/05/14            102      JOSEPH GOLDIAN                         Authorized per Order at Docket                           4110-000                                  $12,000.00            $884,487.92
                                3660 BIG PINE ROAD                     #110
                                MELBOURNE, FL 32934
   02/05/14            103      CREEL COURT REPORTING                  Authorized per Order at Docket                           2990-000                                   $1,195.00            $883,292.92
                                1230 RICHLAND STREET                   #117
                                COLUMBIA, SC 29201
   02/05/14            104      HORRY COUNTY TREASURER                 Authorized per Order at Docket                           5800-000                                  $95,614.91            $787,678.01
                                C/O RODDY DICKINSON                    #111
                                107 HWY. 57 N, BOX 2
                                LITTLE RIVER, SC 29566
   02/05/14            105      MERITO INVESTMENTS, LLC                Authorized per Order at Docket                           4110-000                                  $12,000.00            $775,678.01
                                C/O HEATHER DUNLOP                     #112
                                3213 W. WHEELER ST. #265
                                SEATTLE, WA 98199
   02/05/14            106      PAT O'DONNELL                          Authorized per Order at Docket                           4110-000                                  $12,000.00            $763,678.01
                                P O BOX 134                            #113
                                GLENHAM, NY 12527




                                                                              Page Subtotals:                                                              $0.00         $132,809.91
                                                                                                                                                                                              Page:           5
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                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-06435                                                                                           Trustee Name: Michelle L. Vieira
      Case Name: LEGACY DEVELOPMENT SC GROUP, LLC                                                                        Bank Name: Rabobank, N.A.
                                                                                                              Account Number/CD#: XXXXXX66
                                                                                                                                        Checking Account
  Taxpayer ID No: XX-XXX3727                                                                          Blanket Bond (per case limit): $2,000,000.00
For Period Ending: 11/20/2014                                                                         Separate Bond (if applicable):


       1                2                          3                                              4                                                    5                   6                     7

Transaction Date    Check or             Paid To / Received From                     Description of Transaction                 Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                         ($)
   02/05/14            107      EQUITY TRUST CO, CUSTODIAN FBO           Authorized per Order at Docket                          4110-000                                  $11,760.00          $751,918.01
                                WILLIAM LEE TOLER IRA                    #114
                                2711 B WATSON BLVD.
                                WARNER ROBINS, GA 31093
   02/05/14            108      EQUITY TRUST CO, CUSTODIAN FBO           Authorized per Order at Docket                          4110-000                                      $240.00         $751,678.01
                                MARY ELIZABETH TOLER IRA                 #114
                                2711 B WATSON BLVD.                      Replicated from check #107
                                WARNER ROBINS, GA 31093
   02/05/14            109      GFY HOLDINGS                             Authorized by Order at Docket                           2500-000                                  $26,250.00          $725,428.01
                                C/O DESCHAMPS LAW FIRM                   #118 - Break Up Fee
                                P O BOX 2402
                                MYRTLE BEACH, SC 29578
   02/05/14            110      BARTON LAW FIRM                          Authorized per Order at Docket                                                                   $176,170.09          $549,257.92
                                1715 PICKENS STREET                      #64, less 5% as per agreement
                                COLUMBIA, SC 29201                       with UST office
                                                                         Barton Law Firm Fees                 ($174,076.81)      3210-000

                                                                         Barton Law Firm Expenses                 ($2,093.28)    3220-000

   02/28/14                     Rabobank, N.A.                           Bank and Technology Services                            2600-000                                      $870.30         $548,387.62
                                                                         Fee
   03/14/14            111      INSURANCE PARTNERS AGENCY, INC. BOND PREMIUM PAYMENT                                             2300-000                                      $309.71         $548,077.91
                                6190 Cochran Road, Suite E      ON LEDGER BALANCE AS OF
                                Solon, OH 44139                 03/01/2014 FOR CASE #12-
                                                                06435, Pro rata Trustee bond
                                                                premium 3/1/14-3/1/15
   03/31/14                     Rabobank, N.A.                           Bank and Technology Services                            2600-000                                      $779.04         $547,298.87
                                                                         Fee
   04/28/14            112      LUM & ELIZABETH HUGH                     Payment per Settlement Order                            4110-000                                   $2,000.00          $545,298.87
                                703 PIER AVENUE, B623                    (Docket #134 entered 3/25/14)
                                HERMOSA BEACH, CA 90254
   04/28/14            113      GUY MANNING                              Payment per Settlement Order                            4110-000                                   $2,000.00          $543,298.87
                                5685 N. Juliano Road                     (Docket #133 entered 3/25/14)
                                Las Vegas, NV 89149
   04/28/14            114      KATHLEEN MANNING                         Payment as per Settlement                               4110-000                                   $2,000.00          $541,298.87
                                5685 N. Juliano Road                     Order (Docket #135 entered
                                Las vegas, NV 89149                      3/25/14



                                                                                Page Subtotals:                                                             $0.00         $222,379.14
                                                                                                                                                                                              Page:           6
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                                                                                       FORM 2
                                                                                               Entered 11/25/14 14:57:27                                Desc Main
                                                                             Document     Page   13 of 19 RECORD
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-06435                                                                                           Trustee Name: Michelle L. Vieira
      Case Name: LEGACY DEVELOPMENT SC GROUP, LLC                                                                        Bank Name: Rabobank, N.A.
                                                                                                              Account Number/CD#: XXXXXX66
                                                                                                                                        Checking Account
  Taxpayer ID No: XX-XXX3727                                                                           Blanket Bond (per case limit): $2,000,000.00
For Period Ending: 11/20/2014                                                                         Separate Bond (if applicable):


       1                2                          3                                              4                                                    5                   6                     7

Transaction Date    Check or             Paid To / Received From                     Description of Transaction                 Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                         ($)
   04/28/14            115      RON JONES VIA EQUITY TRUST IRA           Payment as per Settlement                               4110-000                                   $2,000.00          $539,298.87
                                #20857                                   order (Docket #141 entered
                                7804 FAIRVIEW ROAD PMB 311               4/15/14)
                                CHARLOTTE, NC 28226
   04/30/14                     Rabobank, N.A.                           Bank and Technology Services                            2600-000                                      $858.17         $538,440.70
                                                                         Fee
   05/01/14            116      FAULKNER AND THOMPSON P.A.               Accountant fees, as per Order                           3410-000                                  $27,146.50          $511,294.20
                                PO Box 2456                              Docket #143
                                Rock Hill, SC 297324456
   05/01/14            117      FAULKNER AND THOMPSON P.A.               Accountant expenses, as per                             3420-000                                      $172.31         $511,121.89
                                PO Box 2456                              Order Docket #143
                                Rock Hill, SC 297324456
   05/30/14                     Rabobank, N.A.                           Bank and Technology Services                            2600-000                                      $751.47         $510,370.42
                                                                         Fee
   06/30/14                     Rabobank, N.A.                           Bank and Technology Services                            2600-000                                      $710.67         $509,659.75
                                                                         Fee
   07/31/14                     Rabobank, N.A.                           Bank and Technology Services                            2600-000                                      $806.44         $508,853.31
                                                                         Fee
   08/26/14            118      BARTON LAW FIRM                                                                                                                           $259,583.34          $249,269.97
                                1715 PICKENS STREET
                                COLUMBIA, SC 29201
                                                                         Barton Law Firm Fees                 ($258,045.00)      3210-000

                                                                         Barton Law Firm Expenses                 ($1,538.34)    3220-000

   08/29/14                     Rabobank, N.A.                           Bank and Technology Services                            2600-000                                      $707.51         $248,562.46
                                90 E Thousand Oaks Blvd                  Fee
                                Ste 300
                                Thousand Oaks, CA 91360
   09/02/14            119      A. WILLIAM ROBERTS, JR & ASSOC.          MLV Deposition                                          2990-000                                      $226.25         $248,336.21

   09/10/14                     Rabobank, N.A.                           Bank and Technology Services                            2600-000                                      $242.05         $248,094.16
                                90 E Thousand Oaks Blvd                  Fee
                                Ste 300
                                Thousand Oaks, CA 91360
   09/10/14                     Transfer to Acct # xxxxxx0164            Transfer of Funds                                       9999-000                                 $248,094.16                 $0.00



                                                                                Page Subtotals:                                                             $0.00         $541,298.87
                                                                                                                                                                                                 Page:           7
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                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-06435                                                                                             Trustee Name: Michelle L. Vieira
      Case Name: LEGACY DEVELOPMENT SC GROUP, LLC                                                                          Bank Name: Rabobank, N.A.
                                                                                                                  Account Number/CD#: XXXXXX66
                                                                                                                                        Checking Account
  Taxpayer ID No: XX-XXX3727                                                                           Blanket Bond (per case limit): $2,000,000.00
For Period Ending: 11/20/2014                                                                          Separate Bond (if applicable):


       1                2                          3                                              4                                                     5                   6                       7

Transaction Date    Check or             Paid To / Received From                      Description of Transaction                Uniform Tran.      Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                       Code                                                            ($)
   10/15/14            119      Equity Trust Company, Custodian FBO      Payment as per Consent Order                             7100-000                                       $240.00             ($240.00)
                                Mary Elizabeth Toler IRA                 #114 Entered 1/10/14
                                                                         Re-issue of check #

   10/15/14            120      Equity Trust Company, Custodian FBO      Payment as per Consent Order                             7100-000                                  $11,760.00            ($12,000.00)
                                William Lee Toler IRA                    #114 Entered 1/10/14

   10/23/14            119      Equity Trust Company, Custodian FBO      REVERSAL                                                 7100-000                                      ($240.00)         ($11,760.00)
                                Mary Elizabeth Toler IRA                 Check written from wrong
                                                                         account in error. Never
                                                                         printed.
   10/23/14            120      Equity Trust Company, Custodian FBO      REVERSAL                                                 7100-000                                 ($11,760.00)                  $0.00
                                William Lee Toler IRA                    Check written from closed
                                                                         account in error. Never printed.


                                                                                                          COLUMN TOTALS                               $896,487.92          $896,487.92
                                                                                                                  Less: Bank Transfers/CD's                  $0.00         $248,094.16
                                                                                                          Subtotal                                    $896,487.92          $648,393.76
                                                                                                                  Less: Payments to Debtors                  $0.00                 $0.00
                                                                                                            Net                                       $896,487.92          $648,393.76




                                                                                Page Subtotals:                                                              $0.00                 $0.00
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                                                                                                   TOTAL OF ALL ACCOUNTS
                                                                                                                                                    NET              ACCOUNT
                                                                                                                 NET DEPOSITS         DISBURSEMENTS                  BALANCE
                                                     XXXXXX0164 - Checking                                           $975,000.00            $232,912.32             $990,181.84
                                                     XXXXXX66 - Checking Account                                     $896,487.92            $648,393.76                   $0.00
                                                                                                                   $1,871,487.92            $881,306.08             $990,181.84

                                                                                                                (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                        transfers)            to debtors)
                                                     Total Allocation Receipts:                    $8,512.08
                                                     Total Net Deposits:                        $1,871,487.92
                                                     Total Gross Receipts:                      $1,880,000.00



Trustee Signature:   /s/ Michelle L. Vieira   Date: 11/20/2014

                     Michelle L. Vieira
                     P O Box 70309
                     Myrtle Beach, SC 29572
                     (843) 497-9800
                     michellelvieira@msn.com




                                                                              Page Subtotals:                                          $0.00                $0.00
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                                 UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF SOUTH CAROLINA

IN RE:

LEGACY DEVELOPMENT SC GROUP, LLC                                    Case # 12-06435-DD

                                                                    Chapter 7
                                Debtor(s)

                                         CERTIFICATE OF SERVICE

         The undersigned, Elaine MacMillan, hereby states that she mailed the within Notice of Trustee’s Motion
to Allow Claims and Make An Interim Distribution to the parties as shown on the attached matrix either
electronically where appropriate or by depositing the same in the U.S. Post Office, postage prepaid, at Myrtle Beach,
South Carolina, where there is regular communication by mail, and that same was mailed on November 25, 2014.


                                                     /s/ Elaine MacMillan
                                                     Elaine MacMillan, Assistant
                                                     Office of Michelle L. Vieira, Trustee
                                                     P O Box 70309
                                                     Myrtle Beach, SC 29572
                                                     Phone (843) 497-9800
                                                     Fax (877) 684-1614
                                                     Email: TrusteeAssistant@chapter7.email
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